
OPINION OF THE COURT
GREENBAUM, Judge.
The Appellant herein (Defendant) moves to vacate the Judgment heretofore entered by the Court.
*189The Defendant timely filed a Motion to Dismiss. The Court acknowledged that the Motion to Dismiss had been timely filed but had not made the Court file. The Court should not have dismissed the cause without first hearing the Defendant’s Motion. If there is any reasonable doubt in the matter of vacating a default, it should be resolved in favor of granting the application and allowing the trial upon the merits.” North Shore Hospital, Inc. v. Barber, 143 So.2d 849 (1962).
The Default is hereby vacated, the Judgment is hereby vacated, and this cause is hereby remanded for a hearing on the Motion to Dismiss and then proceedings consistent with the Rules of Procedures.
